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         ORDERED in the Southern District of Florida on May 10, 2023.



                                                                       Peter D. Russin, Judge
                                                                       United States Bankruptcy Court
_____________________________________________________________________________



                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                           FORT LAUDERDALE DIVISION
                                                www.flsb.uscourts.gov

          In re:                                                    Chapter 11 Cases

          VITAL PHARMACEUTICALS, INC., et al.,                      Case No. 22-17842 (PDR)
                                                                    (Jointly Administered)
                   Debtors.1
                                                              /

          VITAL PHARMACEUTICALS, INC., et al.

                            Plaintiffs,
                                                                    Adv. Pro. No. 23-01051 (PDR)
          v.

          JOHN H. OWOC and MEGAN E. OWOC,

                            Defendants.
                                                              /


         1 The Debtors include (i) Vital Pharmaceuticals, Inc.; (ii) Bang Energy Canada, Inc.; (iii) JHO Intellectual Property
           Holdings, LLC; (iv) JHO Real Estate Investment, LLC; (v) Quash Seltzer, LLC; (vi) Rainbow Unicorn Bev LLC;
           and (vii) Vital Pharmaceuticals International Sales, Inc. The address of the Debtors is 1600 N. Park Drive, Weston,
           FL 33326. The last four digits of the Debtors’ federal tax identification numbers are: (i) Vital Pharmaceuticals,
           Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO
           Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and
           (vii) Vital Pharmaceuticals International Sales, Inc. (8019).
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    ORDER DENYING EMERGENCY MOTION FOR RELIEF FROM UNAUTHORIZED
       STIPULATION AND EXTENDING TEMPORARY RESTRAINING ORDER

        THIS MATTER came before the Court on May 1, 2023, at 2:00 p.m. in Fort Lauderdale,

Florida, upon the status conference in the above-captioned adversary proceeding. The Court,

having considered the Court file, having considered Plaintiffs’ request to extend the temporary

restraining order against Defendants, John H. Owoc and Megan E. Owoc (collectively,

“Defendants”), and being duly advised in the premises and for the reasons stated on the record, it

is

        ORDERED that:

        1.     Owocs’ Emergency Motion for Relief from Unauthorized Stipulation TRO [ECF

Nos 9 and 10] [ECF No. 55] is denied for the reasons stated on the record.

        2.     The temporary restraining order (“TRO”) entered pursuant to the Court’s Order

Approving Stipulation Regarding Debtors’ Motion for Temporary Restraining Order [ECF No.

10] dated March 16, 2023, is extended for a period of twenty-eight (28) days, through May 29,

2023, and in addition to the conditions imposed in the TRO, Plaintiffs are prohibited from posting

content to the CEO Accounts2 for twenty-eight (28) days, through May 29, 2023.

        3.     This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.

                                                # # #




2
 The CEO Accounts are defined, collectively, as the (i) Instagram and TikTok accounts bearing the handle
“@bangenergy.ceo,” (ii) Twitter account bearing the handle “@BangEnergyCEO.”

                                                   2
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Submitted by:
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(Attorney Guso is directed to serve this order upon all non-registered users who have yet to appear
electronically in this case and file a conforming certificate of service.)




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